Case 1:18-cv-00950-PTG-JFA Document 359 Filed 09/18/19 Page 1 of 4 PageID# 12644




                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,                                       Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.

                  COX’S OPENING DEPOSITION TESTIMONY DESIGNATIONS


            Pursuant to the Court’s July 22, 2019 Pretrial Scheduling Order, ECF No. 223, Federal

     Rules of Civil Procedure 26(a)(3) and 32(a)(3), and the Local Rules, Defendants Cox

     Communications, Inc. and CoxCom, LLC (collectively “Cox”) submit their deposition

     designations Cox may present at trial as attached hereto as Exhibit A.

            Cox reserves the right to designate portions of the deposition testimony of witnesses

     identified on Plaintiffs’ Witness List, ECF No. 222, as “will call” or “may call” witnesses in the

     event that Plaintiffs do not offer live testimony from any such witness. Cox further reserves the

     right to supplement or amend these designations in light of any testimony inadvertently omitted

     from the current designations and for which reasonable notice is given to Plaintiffs. Cox further

     reserves the right to use deposition testimony without previously designating it for impeachment

     purposes and to use any deposition testimony that Plaintiffs designate. Cox also reserves the

     right to supplement these designations in response to any counter-designations provided by

     Plaintiffs. Cox reserves the right to challenge and object to Plaintiffs’ use of any testimony in




                                                       1
Case 1:18-cv-00950-PTG-JFA Document 359 Filed 09/18/19 Page 2 of 4 PageID# 12645




  Cox’s designations on any appropriate grounds, and by including testimony in its designations

  Cox does not waive any objections to the admissibility of any testimony.

         Additionally, Cox includes in its current designations testimony that may be subject to:

  (1) the Court’s ruling on forthcoming motions in limine; (2) the Court’s rulings on Plaintiffs’ and

  Cox’s pending summary judgment motions; and (3) the Court’s ruling on Cox’s Motion for

  Discovery Sanctions and to Preclude Plaintiffs’ Use of MarkMonitor Evidence (ECF No. 241).

  Similarly, Cox includes in its designations testimony of certain of Plaintiffs’ putative experts that

  it has moved to exclude and which is therefore subject to the Court’s rulings on Cox’s pending

  Daubert motions. Cox therefore reserves the right to amend its designations in light of any of the

  Court’s forthcoming rulings.



  Dated: September 18, 2019                     /s/ Thomas M. Buchanan
                                                Thomas M. Buchanan (VSB No. 21530)
                                                WINSTON & STRAWN LLP
                                                1700 K Street, NW
                                                Washington, DC 20006-3817
                                                Tel: (202) 282-5787
                                                Fax: (202) 282-5100
                                                Email: tbuchana@winston.com

                                                Attorneys for Defendants Cox Communications, Inc.
                                                and CoxCom, LLC

  Of Counsel for Defendants

  Michael S. Elkin (pro hac vice)
  Thomas Patrick Lane (pro hac vice)
  WINSTON & STRAWN LLP
  200 Park Avenue
  New York, NY 10166-4193
  Tel: (212) 294-6700
  Fax: (212) 294-4700
  Email: melkin@winston.com
  Email: tlane@winston.com



                                                   2
Case 1:18-cv-00950-PTG-JFA Document 359 Filed 09/18/19 Page 3 of 4 PageID# 12646




  Jennifer A. Golinveaux (pro hac vice)
  Thomas J. Kearney (pro hac vice)
  WINSTON & STRAWN LLP
  101 California Street, 35th Floor
  San Francisco, CA 94111-5840
  Tel: (415) 591-1000
  Fax: (415) 591-1400
  Email: jgolinveaux@winston.com
  Email: tkearney@winston.com

  Diana Hughes Leiden (pro hac vice)
  WINSTON & STRAWN LLP
  333 S. Grand Avenue, Suite 3800
  Los Angeles, CA 90071
  Tel: (213) 615-1700
  Fax: (213) 615-1750
  Email: dhleiden@winston.com




                                          3
Case 1:18-cv-00950-PTG-JFA Document 359 Filed 09/18/19 Page 4 of 4 PageID# 12647




                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 18, 2019, the foregoing was filed and served

  electronically by the Court’s CM/ECF system upon all registered users.



                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, NW
                                                     Washington, DC 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc.
                                                     and CoxCom, LLC




                                                 4
